              Case 1:22-cv-00301-JRN Document 43 Filed 07/21/23 Page 1 of 3



                                                                                     FILED
                           UNITED STATES DISTRICT COURT       July 21, 2023
                            WESTERN DISTRICT OF TEXAS     CLERK,  U.S. DISTRICT COURT
                                                         WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION
                                                                         klw
                                                      BY: ________________________________
                                                                                                 DEPUTY
 RICHARD A. FUNK, INDIVIDUALLY,                     §
 AND ON BEHALF OF ALL OTHERS                        §
 SIMILARLY    SITUATED;    AND                      §
 RACHAEL FUNK, INDIVIDUALLY,                        §      Case No. A-22-CV-00301-JRN
 AND ON BEHALF OF ALL OTHERS                        §
 SIMILARLY SITUATED;                                §
 Plaintiffs                                         §
                                                    §
 VS                                                 §
                                                    §
 NEWREZ LLC,                                        §
 Defendant
                                                    §

                                       SCHEDULING ORDER


                  Pursuant to Rule 16 of the Federal Rules of Civil Procedure, the Court issues the

following Scheduling Order:

                  IT IS ORDERED THAT:

                  1. A report on alternative dispute resolution in compliance with Local Rule CV-88

shall be filed on or before May 26, 2023.

                  2. The parties asserting claims for relief shall submit a written offer of settlement

to opposing parties on or before December 2, 2022, and each opposing party shall respond, in

writing, on or before December 16, 2022. All offers of settlement are to be private, not filed, and

the Court is not to be advised of the same. The parties are further ORDERED to retain the written

offers of settlement and responses as the Court will use these in assessing attorney’s fees and court

costs at the conclusion of trial.




                                                     −1−
          Case 1:22-cv-00301-JRN Document 43 Filed 07/21/23 Page 2 of 3




                3. The parties shall file all motions to amend or supplement pleadings and all

motions to join additional parties on or before February 28, 2023.

                4. All parties asserting claims for relief shall file and serve on all other parties their

designation of potential witnesses, testifying experts, and proposed exhibits, and shall serve on all

other parties, but not file, the materials required by Federal Rule of Civil Procedure 26(a)(2)(B)

on or before June 15, 2023. Parties resisting claims for relief shall file and serve on all other

parties their designations of potential witnesses, testifying experts, and proposed exhibits, and shall

serve on all other parties, but not file, the materials required by Federal Rule of Civil Procedure

26(a)(2)(B) on or before July 13, 2022. All designations of rebuttal experts shall be filed and

served on all other parties within fourteen (14) days of receipt of the report of the opposing expert,

and the materials required by Federal Rule of Civil Procedure 26(a)(2)(B) for such rebuttal experts,

to the extent not already served, shall be served, but not filed, on all other parties within fourteen

(14) days of receipt of the report of the opposing expert.

                5. An objection to the reliability of an expert’s proposed testimony under Federal

Rule of Evidence 702 shall be made by motion, specifically stating the basis for the objection and

identifying the objectionable testimony, within fourteen (14) days of receipt of the written report

of the expert’s proposed testimony or within fourteen (14) days of the expert’s deposition, if a

deposition is taken, whichever is later. The failure to strictly comply with this paragraph will

be deemed a waiver of any objection that could have been made pursuant to Federal Rule of

Evidence 702.

                6. The parties shall complete discovery on or before October 23, 2023. Counsel

may, by agreement, continue discovery beyond the deadline, but there will be no intervention by



                                                     −2−
          Case 1:22-cv-00301-JRN Document 43 Filed 07/21/23 Page 3 of 3




the Court except in extraordinary circumstances, and no trial setting will be vacated because of

information obtained in post-deadline discovery.

               7. All dispositive motions shall be filed and served on all other parties on or before

November 20, 2023 and shall be limited to ten (10) pages in length. Responses shall be filed and

served on all other parties within fourteen (14) days of the service of the motion and shall be

limited to ten (10) pages in length. Any replies shall be filed and served on all other parties

within seven (7) days of the service of the response and shall be limited to five (5) pages in

length, but the Court need not wait for the reply before ruling on the motion. Unless otherwise

directed by the Court, a party may file no more than one motion for summary judgment, without

first obtaining leave of court for good cause.

               The Court, not the parties, shall complete the following paragraph 8.

               8. This case will be set for final pretrial conference and a trial on LATER DATES

SET BY THE COURT. The final pretrial conference shall be attended by at least one of the

attorneys who will conduct the trial for each of the parties and by any unrepresented parties. In

addition to counsel, party representatives with authority to negotiate a settlement and all other

persons necessary to negotiate a settlement shall attend the final status conference. The parties

should consult Local Rule CV-16(e) regarding matters to be filed in advance of the final pretrial

conference.

       SIGNED this 21st day of July, 2023.



                                                 ______________________________________
                                                 JAMES R NOWLIN
                                                 SENIOR UNITED STATES DISTRICT JUDGE



                                                    −3−
